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                                     UNITED STATES DISTRICT COURT
 8                                  WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
 9
      UNITED STATES OF AMERICA,
10
                             Plaintiff,
11                                                                  CASE NO. CR05-0231C
              v.
12                                                                  ORDER
      GEORGE WEGERS, et al.,
13
                             Defendants.
14

15          This matter comes before the Court on Defendant Christopher Horlock’s motion for release from

16   detention pending sentencing. (Dkt. No. 972.) Having carefully considered the papers submitted by the

17   parties, as well as the transcript of Defendant’s original detention hearing and previously entered

18   detention orders, and finding an additional evidentiary hearing unnecessary, the Court will DENY

19   Defendant’s motion for the following reasons.

20          The Court has described in detail the factual and procedural background of Defendant

21   Christopher Horlock in a prior order. (See Dkt. No. 564.) Several months after that order was affirmed

22   by the Ninth Circuit, Defendant pled guilty to participating in a conspiracy to tamper with witnesses in

23   violation of 18 U.S.C. §§ 1512(b)(3) and 1512(k). (Dkt. No. 937.) This offense carries a maximum

24   penalty of ten-years’ imprisonment, three-years’ supervised release, and additional fines and penalties.

25   The plea agreement recites the parties’ agreement “that the appropriate sentence to be imposed by the

26   ORDER – 1
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 1   Court is imprisonment for time served in custody as of the date of sentencing, and a period of supervised

 2   release for between two and three years.” (Id. ¶ 6 (emphasis added).) The Court has accepted

 3   Defendant’s plea and has scheduled his sentencing for June 16, 2006.

 4          Following his conviction, it is Defendant’s burden to present clear and convincing evidence that

 5   he is “not likely to flee or pose a danger to the safety of any other person or the community if released”

 6   pending sentencing. 18 U.S.C. § 3143(a)(1); see also United States v. Koon, 6 F.3d 561, 562–63 (9th

 7   Cir. 1993). Defendant correctly notes that the Court’s prior detention order did not find that he was a

 8   flight risk, largely due to “Defendant’s apparent ties to family, community, and businesses in South

 9   Dakota.” (Dkt. No. 564 at 5.) However, the Court did find that “no combination of conditions would

10   ensure the safety of the community were Defendant to be released,” based in part on the seriousness of

11   the charged offense. (Id.)

12          Defendant has pled guilty to a serious criminal conspiracy, and has presented no evidence

13   supporting his contention that “no grounds exist” for his continued detention. (Mot. 2.) Moreover, his

14   plea agreement expressly contemplates that the recommended sentence will encompass time served up to

15   and including the date of sentencing. The Court will not upset the parties’ bargain nor disregard its prior

16   orders by releasing Defendant eight weeks before his sentencing.

17          For these reasons, Defendant Horlock’s motion is hereby DENIED.




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18          SO ORDERED this 26th day of April, 2006.

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                                                   UNITED STATES DISTRICT JUDGE
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26   ORDER – 2
